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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF ARKANSAS
                                            CENTRAL DIVISION


IN RE:      ROBERT KEVIN FINNEY                                                           CASE NO: 4:18-bk-12138 T
            Debtor                                                                                       Chapter 13


                                     CHAPTER 13 ORDER TO PAY TRUSTEE
                                               (DIRECT PAY)

The above named debtor has filed a petition under Chapter 13 of the United States Bankruptcy Code .

IT IS ORDERED that until further orders of this court, the debtor named above shall pay the sum of $430.00
MONTHLY and each succeeding period thereafter to:

                                            Joyce Bradley Babin, Trustee
                                            3411 Momentum Place
                                            Chicago, IL 60689-5334

IT IS FURTHER ORDERED that all funds forwarded to the Trustee shall be by money order, cashier's check, or other
payment form accepted by the Trustee and are due by the 22nd of each month unless scheduled otherwise.

IT IS FURTHER ORDERED that the payments required herein are to commence immediately upon receipt of this Order .


IT IS FURTHER ORDERED THAT this Order supersedes any previous order to the debtor to make payments to the
Trustee in this case.


Date: January 25, 2022                                             /s/ RICHARD D. TAYLOR
                                                                   RICHARD D. TAYLOR
                                                                   United States Bankruptcy Judge
cc:   Joyce Bradley Babin
      Matthew D. Mentgen
      ROBERT KEVIN FINNEY
      LISA M FINNEY




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